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UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF NEW YORK

 

RONY ZAKARIA
Plaintiff,
v.
NATIONAL PUBLIC RADIO, INC.
Defendant.

 

 

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CmL ACTION wlTH
PREJUDICE (FRCP 41(11)(1)(11)(1))

Case No.: 1:17-cv-06717-DLC

IT IS HEREBY NOTICED that the above case should be dismissed with

prejudice.

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Dated; 10/27/2017
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